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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0832V
                                          UNPUBLISHED


    KIMBERLY A. PURTILL,                                        Chief Special Master Corcoran

                         Petitioner,                            Filed: December 4, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.


                                 DECISION AWARDING DAMAGES1

       On June 12, 2018, Kimberly A. Purtill filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine received on September
30, 2015. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On May 7, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On December 4, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $50,000.00. Proffer at
1. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $50,000.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


    KIMBERLY A. PURTILL,

                  Petitioner,                          No. 18-832V
                                                       Chief Special Master Corcoran
    v.                                                 SPU

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                  Respondent.


              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On November 12, 2019, Chief Special Master Corcoran issued a Fact Ruling, finding that

petitioner satisfied the six-month severity requirement set forth in Section 11(c)(1)(D)(i) of the

Vaccine Act. Thereafter, on May 7, 2020, Chief Special Master Corcoran issued a Ruling on

Entitlement finding that petitioner was entitled to vaccine compensation for her Shoulder Injury

Related to Vaccine Administration (“SIRVA”). Based on the evidence of record, respondent

proffers that petitioner should be awarded $50,000.00. 1 This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 2 Petitioner

agrees.



1 The parties have no objection to the amount of the proffered award of damages. However,
respondent reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Chief
Special Master’s May 7, 2020 entitlement decision.


2 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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II.    Form of the Award

       The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $50,000.00, in the form of a check payable to petitioner. Petitioner

agrees. Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                             Respectfully submitted,

                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             CATHARINE E. REEVES
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             ALEXIS B. BABCOCK
                                             Assistant Director
                                             Torts Branch, Civil Division

                                             s/ Mallori B. Openchowski
                                             MALLORI B. OPENCHOWSKI
                                             Trial Attorney
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                                             P.O. Box 146, Ben Franklin Station
                                             Washington, DC 20044-0146
                                             Tel.: (202) 305-0660
DATED: December 4, 2020




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